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                                  Committee of Tort Claimants
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                             12
                                                           UNITED STATES BANKRUPTCY COURT
                             13
                                                           NORTHERN DISTRICT OF CALIFORNIA
                             14
                                                                  SAN FRANCISCO DIVISION
                             15
                                  In re:                                           Bankruptcy Case
                             16                                                    No. 19-30088 (DM)
                                  PG&E CORPORATION
                             17                                                    Chapter 11
                                                        -and-                      (Lead Case)
                             18                                                    (Jointly Administered)
                                  PACIFIC GAS AND ELECTRIC
                             19   COMPANY,
                                                      Debtors.                     NOTICE OF HEARING ON
                             20                                                    APPLICATION OF THE OFFICIAL
                                  □ Affects PG&E Corporation                       COMMITTEE OF TORT CLAIMANTS
                             21                                                    PURSUANT TO 11 U.S.C. § 1103 AND
                                  □ Affects Pacific Gas and Electric Company       FED. R. BANKR. P. 2014 AND 5002 TO
                             22                                                    RETAIN AND EMPLOY
                                  ■ Affects both Debtors                           DEVELOPMENT SPECIALISTS, INC.
                             23                                                    AS A FINANCIAL ADVISOR
                                  *All papers shall be filed in the Lead Case,     EFFECTIVE AS OF MARCH 20, 2019
                             24   No. 19-30088 (DM)
                                                                                   Date:   May 8, 2019
                             25                                                    Time:   9:30 a.m. (Pacific Time)
                                                                                   Place:  United States Bankruptcy Court
                             26                                                            Courtroom 17, 16th Floor
                                                                                           San Francisco, CA 94102
                             27                                                    Objections Due: May 1, 2019
                                                                                              (4:00 p.m. (Pacific Time)
                             28


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                              1          PLEASE TAKE NOTICE that on April 15, 2019, the Official Committee of Tort
                              2   Claimants (the “TCC”), in the above-captioned chapter 11 cases of PG&E Corporation and Pacific
                              3   Gas and Electric Company filed a Motion seeking the entry of an order authorizing the retention
                              4   and employment of Development Specialists, Inc. as a financial advisor to the TCC effective as of
                              5   March 20, 2019 pursuant to 11 U.S.C. § 1103 and Fed. R. Bankr. P. 2014 and 5002, and other
                              6   related relief as the Court may deem appropriate.
                              7          PLEASE TAKE FURTHER NOTICE that any objection to the requested relief, or a
                              8   request for hearing on the matter, must be filed and served upon the initiating party by 4:00 p.m.
                              9   (Pacific Time) on May 1, 2019; any objection or request for a hearing must be accompanied by
                             10   any declarations or memoranda of law any requesting party wishes to present in support of its
                             11   position; if there is no timely objection to the requested relief or a request for hearing, the Court
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                             12   may enter an order granting the relief by default.
                             13          PLEASE TAKE FURTHER NOTICE that in the event of a timely objection or request
                             14   for hearing, the tentative hearing date, location and time are Tuesday, May 8, 2019, at 9:30 a.m.
                             15   (Pacific Time), at the United States Bankruptcy Court, Courtroom 17, 16 th Floor, San Francisco,
                             16   CA 94102.
                             17

                             18    Dated: April 15, 2019
                             19

                             20                                               BAKER & HOSTETLER LLP

                             21
                                                                              By:      /s/ Cecily A. Dumas
                             22                                                        Cecily A. Dumas

                             23                                               Counsel for Official Committee of Tort Claimants

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